Joseph Hudziecko claimed that on October 5, 1926, in the course of his employment he received injuries consisting of a severe strain of his back and kidneys, resulting in traumatic nephritis. The self-insuring employer having refused to pay compensation, and, an application for compensation under Section 1465-74, General Code, as well as upon rehearing, having been denied by the Industrial Commission, an appeal was perfected to the Common Pleas Court. A jury found the employee was entitled to participate in the workmen's compensation fund. The Court of Appeals affirmed and remanded the cause to the Industrial Commission, which awarded him compensation on a temporary total basis from the date of his injury to December 15, 1926, less seven days, which was paid.
Relator asks this court to issue a writ of mandamus to compel the Industrial Commission to award compensation for all disability he has suffered from Bright's disease since his original injury, or to pay him for permanent and total disability as long as his condition renders him so disabled.
Issues were joined by an answer, which among other allegations pleaded that in 1930 an application for modification of award was filed and dismissed, that employer's motion to dismiss an application for rehearing was sustained, and that in 1936 an application to modify the previous award was denied and an application for rehearing was granted, leaving the claim pending.
The issues in this case are governed by the law announced in the second and third propositions of the syllabus of the case of State, ex rel. Kauffman, v. Industrial Commission, 121 Ohio St. 472,  169 N.E. 572.
Writ denied.
WEYGANDT, C.J., JONES, MATTHIAS, DAY, ZIMMERMAN, WILLIAMS and MYERS, JJ., concur. *Page 446 